\ooo~aé\m-r>wc\)»-‘

Nl\)l\)N[\-'>[\)I\JNM|-ll-\>-M»_\)_\s-I>-Il_l)-lP-\
OO`~JO\{JW~P~U~Jl\-)F_‘C\DOQ\JO\U\-P~WNF_*C

Case 3:17-cv-05769-R.]B Document 111 Filed 08/02/18 Page 1 of 10

The Honorable Robert J. Bryan

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

UGocHUKWU cooDLUcK
NWAUZOR, FERNANDO AGUIRRE- CHS@ NO‘ 3=17-<>"'05769'RFB

UR_BINA, mdlvldually and on behalf of all DECL R ! TION OF JOAN K_ MELL

those Similarly Si'mated~ ATTACHI:NG DECLARATION oF
Plamtlff» TAE D. JoH:NSoN ASSISTANT DIREcToR,
v. CUSTODY MANAGEMENT DIvIsIoN,
ERo-ICE-DHS

THE GEO GROUP, INC.,
Defendant.

 

 

 

 

I, loan K. l\/Iell, make the following Statement under oath subject to penalty of perjury
under the laws of the United States and the State of Washington:

Attached- is a true and correct copy of the Tae D. Johnson Declaration received on
August l, 2018 at 4:42 p.m. from Ann Rose, Associate Legal Advisor, Government

Infonnation Law Division, Offlce of the Principal Legal Advisor, U.S. Immigl'ation and

///
///
NWAUZOR et al. v. TI-IE GEO GROUP, INC. I_II BRANCI-[EIS LAW, PLLC
ECF CASE NO. 3-17-cv-05769-RJB loan K. Mell
DECLARATION OF JOAN K. MELL ATTACHING DECLARATION OF 1019 Regents Blvd. Ste. 204
TAE D. JOHNSON ASSISTANT DIRECTOR, CUSTODY MANAGEMENT Fircrest, WA 98466

v DIVISION ERO-ICE-DHS - 1 253-566-2510 ph

joan@3 brancheslaw.com

\DOO'--.IO\Lh-I>~L)Jl\)

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 3:17-cv-05769-R.]B Document 111 Filed 08/02/18 Page 2 of 10

Customs Enforcement for use in this litigationl
This information is true and correct to the best ofrny abilities.
Dat'éd tlpis l1St day ofAu nst;*’ZOl 8 at Fircrest, WA

111 Br_a`ilches na ,PLLC »-
f /

  

 

( 'L"avj€`r‘for The Geo Group, Inc.

NWAUZOR et al. v. THE GEO GROUP, INC. III BRANCI~IES LAW, PLLC
ECF CASE NO. 3-1'7-cV-05769~RJB loan K. Mell
DECLARATION OF JOAN K. MELL A'I`TACI-IING DECLARATION OF 1019 Regents Blvd. Ste. 204
'I`AE D. JOHNSON ASSISTANT DIR_ECTOR, CUSTODY MANAGEM'ENT Fircrest, WA 98466
DIVISION ERO-ICE-DHS - 2 253-566-2510 ph

joan@3brancheslaw.com

'~$0¢--.10\;;14>.¢.,.\¢\;._.

wWWLHNNNNNNNNNN_l_‘_*_¢-__»_»__
WN_°Q\QW‘JG`W-PWN*_‘C\ON`~!G\UILWN_Q

 

 

Case 3:17-cv-05769-R.]B Document 111 Filed 08/02/18 Page 3 of 10

THE HONORABLE ROBERT J. BRYAN

UNITED STATES DISTR]CT COURT

WESTERN DISTRICT OF WASHINGTON
AT TACOMA

 

Case No.: 3:17-ev-05806-RJB

STATE OF WASH[NGTON,
_ _ DECLARATION oF ms o. JOHNSON
Plamflf£ Assls'rANT DIREcToR, cusToDY
MANAGEMENT DIvlsloN,
v- ENFoncsMsNT AND REMOVAL
operations n=.Ro) uNmsD sTA'rss
THE GEO GROUP» INC-’ 1MMIGRAT10N AND customs

Defendam ENFORCEMENT (ICE) DEPARTMENT
' OF HOMELAND SECURITY (DHS)

 

 

 

I, Tae D. Johnson, make the following statement under oath subject to the penalty of perjury

pursuant to the laws of the United States and the State cf Washjngton:

1. My name is Tae D. Johnson. I am competent to testify in these matters in that I am over the
age of majority and I am familiar with the subjects discussed herein.

2. I am a. member of the Senior Executive Service serving as the Assistant Director, Custody
Management Division, Enforcement and Removal Operations (ERO), U.S. Immigration and
Customs Enforcement (ICE), U.S. Department of Homeland Security (DHS), in Washington,
D.C. l have held this position since January 2, 2011. My current work address is: 500 12th
Street Southwest, Washington, D.C. 20536.

DECLARAT|ON OF TAE JOHNSON

ENFORCEMENT AND REMOVAL OPERATlONS

UN!TES STATES IMMIGR_AT|ON AND CUSTOMS ENFORCEMENT
l 01`8

 

\Bm'-lo'\U‘l-ldl.~\|\.)v-

bJLdeb-'|NNNNNNMMNN »-‘
w-c,~ooo~¢c~met»-o$ooEE€GEEEZ-`E

 

 

L.\J

Case 3:17-cv-05769-R.]B Document 111 Filed 08/02/18 Page 4 of 10

. I hold a Bachelor of Science degree in accounting from Salisbury University in Salisbu.ry,

Maryland.

In 1992, I began my federal career in Salisbury, Maryland with the fenner lmmigration and
Naturalization Service (I`NS). For the past 20 years, I have served as a detention enforcement
officer, a supervisory detention enforcement ofticer, a supervisory immigration enforcement
agent and deportation officer with INS and ]CE. '="

Since 2011, while at ICE headquarters, l have served as a Unit Chief of the detention standards
compliance unit, as Chief of Staff for the Office of Detention Po|icy and Planning, as Special
Assistant to the Assistant Secretary for ICE, and as Deputy Chief of Staf'f for the Executive
Associate Director for ERO.

ln my current position as Assistant Director, I oversee and direct the Custody Management
Division, which provides policy and oversight for the administrative custody of more than
41,000 detainees daily and roughly 375,000 detainees annually. The Custody Management
Division oversees and manages ICE detention operations to provide for the safety, security and
care of detainees in ICE custody. The ICE detention system consists of more than 250 local
and state facilities operating under intergovernmental service agreements, contract detention
facilities, ICE-owned facilities and facilities operated by the Bureau of Prisons.

ICE arranges for detention services through three primary types of arrangements Service
Processing Centers (SPCs) are government-owned facilities and are operated directly by ICE.
Contract Detention Facilities (CDFs) are contractor-onmed-and-operated facilities at which
ICE has contracts with private services providers Intergovernmental Service Agreements
(IGSAs) are agreements between ICE and a state or political subdivision of a state, such as a
local government. (8 U.S.C. §1103(11)(A)). Sometimes the state or political subdivision then
enters into a subcontractor agreement for a private contractor to operate the facility.
Northwest Detention Center (NWDC) in Tacoma, Pierce County, Washington is a CDF, and
is within my chain of authority. NWDC operates pursuant to a performance-based contract,

which is a results-oriented method of contracting focused on outputs, quality, and outcomes.

DECLARAT|ON OF TAE JOHNSON
E`NFORCEMENT AND REMOVAL OPERATIONS
UNlTES S'I`ATES [MM|GRATION AND CUSTOMS ENFORCEMENT

201'8

 

\DO¢‘-JC\Lh-h~bj|~.]\_.

wmmmt~oz~)t~)t\)ww wrote
mmr-c:\noo~qc\m.mWN-QG;:EUEE§:E

 

 

10.

Case 3:17-cv-05769-R.]B Document 111 Filed 08/02/18 Page 5 of 10

Performance-based contracts do not designate how a contractor is to perform the work, but
rather establishes the expected outcomes and results that the government expects. It is then the
responsibility of the contractor to meet the govemrnent’s requirements at the price the vendor
quoted. The NWDC contract is also a firm-fixed price contract, which means that GEO
responded to the government's requirements by quoting fully burdened rates (i.e. bed day rate,
transportation rate, etc.)tat which it would perform the requirements outlined in the oontract’s
Perfonnance Work Statement (PWS). When contracting for detention services in the Seattle
Field Oflice region, ICE sought a firm-fixed price performance-based contract for a full»service
facility that would provide the safe and secure detention, transportation, detention
management, and ancillary services for up to 1,575 adult detainees

1 am aware that the State of Washington filed a lawsuit, State v. GEO, U.S. District Court
Western District of Washington ECF Case No. 3:17-cv-05806-RJB, making certain wage-
reiated claims against ICE’s contractor, The GEO Group, [NC. (GEO). I am also aware that
in a related action, Nwauzor v. GEO, U.S. District Court Western District of Washington,
ECF Case No. 3:17-cv-05806-RJB, ICE detainees filed a class action lawsuit against GEO
alleging an entitlement to minimum wages for participating in the VWP.

Aliens whom ICE officers and agents arrest for civil immigration violations are those for
whom ICE has probable cause to believe are removable horn the United States.' When an
individual is detained in ICE custody, ICE provides for their care and custody under the
agency’s detention standards These standards provide for the health and welfare of ICE’s
detainees 2 ICE ensures its custodial supervision obligations are met through a set of

standards and inspections to ensure all types of its facilities implement and adhere to ICE’s

 

' Sec generally 8 U.S.C. § 1357 (2018); see also, 8 U.S.C. § l 10 l(a)(3), “[t]he term “alien” means any person not a
citizen or national ofthe United States."
2 See. e.g., https:/lwww.ice.gov/factsheetslfoci|ities-pbnds

DECLARATION OF TAE JOHNSON
ENFORCEMENT AND REMOVAL. OPERATlONS
UNITES STATES lMMIGRATION AND CUSTOMS ENFORCEMENT

301`8

 

sooo-.ic\m-c-wi\.>._.

LDNNNNNMNNNM!-\H_¢»d»-o\_¢__r_e»-n
Q\DW*-IQ\Lh-F-U-\N'_‘O\DW`.\U\UI-Pb-\N“-*O

ll.

12.

Case 3:17-cv-05769-R.]B Document 111 Filed 08/02/18 Page 6 of 10

contractual requirements and detention standards The agency’s first set of national detention
standards were originally issued in September 2000 to facilitate safe, secure, and humane
conditions of confinement, access to legal representation and safe and secure operations
across the detention system. The standards established consistency of program operations
and management expectatigns, accountability for compliance and a culture of
professionalism.

One of the many aspects of ICE’s detention standards is the Voluntary Work Program.
Arnong other purposes, the VWP enables detainees to receive an allowance of no less than
$l per day that they can then save or spend on commissary items. The purpose of the
Voluntary Work Program of the 2011 Performance-Based National Detention Standards
(PBNDS)3 is to provide detainees opportunities to work and earn money while detained,
subject to the number of work opportunities available and within the constraints of the safety,
security, and good order of the facility. The intent of the Voluntary Work Prograrn is to
reduce the negative impact of confinement through decreased idleness, improved detainee
morale, and fewer disciplinary incidents Money earned through the program also allows
detainees to buy commissary goods, and pay for phone calls, etc.”

ICE administers the VWP in its own Services Processing Centers (“SPCs”) and according to
the PBNDS. According to the NWDC contract with ICE, GEO should manage a detainee
work program.“ The contract states that Detainee labor shall be used in accordance with the

detainee work plan developed by the Contractor, in this case GEO, and will adhere to the ICE

 

3 The Pert`ormancc-Based National Detention Standards (PBNDS) establishes consistent conditions of confinement1
program operations, and management expectations to ensure a safe and secure a detention environment for staff and

LAL»JLA}
L¢JN»-*

 

 

detainees in the ICE. detention system.
“ See ICEIGEO NWDC Contract.

DECLARATION OF TAE JOHNSO`N

ENFORCEMENT AND REMOVA.L OPERATlONS

UNITES STATES lMMlGRAT|ON AND CUSTOMS ENFORCEMENT
4 ofS

 

\oeo~..ia\m-e~w¢\s._.

oscit,»wi~.)wr.)ror~)wui~.>mm -
.u)i~o--c)\ooo-.io\mawto»-QEE:E\LAIG§:S

 

 

Case 3:17-Cv-05769-R.]B Document 111 Filed 08/02/18 Page 7 of 10

PBNDS on the Voluntary Work Program.~" The contract also states that “[d]etainee labor
shall be used in accordance with the detainee work plan developed by the Contractor and will
adhere to the ICE PBNDS on Voluntary Work Program. The detainee work plan must be
voluntary, and may include work or program assignments for industrial, maintenance,
custodial, sei'vices, or otherjobs.. .Detainees shall not be used to perform the responsibilities
or duties of an employee of the Coritractor.”‘5

13. Under a 1950 law codified at 8 U.S.C. § l$$$(d), ICE is authorized to pay “allowances (at
such rate as may be specified from time to time in the appropriation Act involved) to aiiens,
while held in custody under the immigration laws, f`or work performed.” The Agency receives
an appropriation ii:om which it can make these payments The amount of the payments was
most recently specified in the appropriations act for Fiscal Year 1979, which set it at a
maximum of $l per day. Pub. L. No. 95-431. Congress set this rate in 1979 and has not
adjusted it since. Per the terms of the contract, as well as the authority provided above, the
reimbursement for the Voluntary Work Program is $1.00 per day per detainee. The PNBDS
also provides that detainees who participate iri the VWP shall receive no less than $1 per day
for their participation ICE reimburses GEO $l per day per detainee for the VWP, the
amount to which GEO is entitled under the contract, and pursuant to the authority provided
above. Per PBNDS, GEO then pays the detainee directly. This is the same rate that ICE
provides to detainees in its own SPC facilities n

14. The NWDC contract states “the connector shall comply with all applicable federal, state, and

local laws..."."' Additionally, within the VWP section of the NWDC contract, the contract

 

’ See Id.
‘ See Id.
"' See id

DECLARATION OF TAE JOH'NSON

ENFORCEMENT AND REMOVAL OPERATIONS

UNlTES STATES IMMIGRATION AND CUSTOMS ENFORCEMENT
5 o|` 8

 

coo-.io\ui.t=~mm,_.

wmwwNNMNNNNMMMi-IHHH~_¢_I~_H
L*|N’_‘O\DW`]Q\Lh-P-UJN*-‘O\OM`JC\UT-LWNHQ

Case 3:17-Cv-05769-R.]B Document 111 Filed 08/02/18 Page 8 of 10

states that “the detainee work program shall not conflict with any other requirements of the

contract and must comply with all applicable laws and regtilations.”8

15. ICE involved stakeholders to develop its PBNDS. The worlcgroup relied upon national
correction standards from the Amei'ican Correctional Association (“ACA”). State and local
jails similarly follow /-XCA standards

16. PBNDS, including Standard 5.8 that describes the expected outcomes and practices of the
VWP, reflect performance standards for ICE detention.

17. ICE audits NWDC for PBNDS compliance, including compliance with VWP objectives and
protocols. ICE reports to Congress its efforts to implement and enforce PBNDS standards at
NWDC and other facilities lCE’s enforcement ofPBNDS has been a priority given ICE’s
commitment to the fair and humane treatment of ICE detainees

18. ICE’s series of detention standards apply to all types of ICE processing facilities Regardless
of which type of facility arrangement ICE selects, all detainees at all ICE facilities are at all
times in the lawful custody of lCE. Accordingly, ICE relies on its contractors to perform iii
accord with contract requirements at contract facilities At the NWDC, ICE occupies a
significant portion of the facility unrelated to GEO’s detention services to fulfill its
operational objectives to include its federal immigration courts ICE has unfettered access
to the secure areas and the detainees The NWDC is subject to DHS audits, third party
inspections and civil rights inspections Detainees have access to hotlines Monday thru
Friday during waking hours by which they can report complaints about VWP participation,

other tasks assigned to them, or any other facility related grievances ICE reviews and

 

 

 

n See let

DECLARAT|ON OF TA.E J'OHNSON
ENFORCEMENT AND REMOVAL OPERATlONS
UNITES STATES IMM!GRATION AND CUSTOMS ENFORCEMENT

GoFS

 

‘~Om‘-IC\M.I‘-‘~LMM»-»

\JJLHUJL»JMMNMNNNMMMi-nv-a»-» _l»-ln--»--¢»-»i-o
wN-c:\ooo~uo\ui.e.mm»-o\eoo~.iau\-hwm~c

 

 

Case 3:17-Cv-05769-R.]B Document 111 Filed 08/02/18 Page 9 of 10

resolves detainee complaints that ICE receives according to its established procedures and

protocols, which includes any complaints about the VWP or detainee work at the NWDC.

19.NWDC has implemented and conforms to current PBNDS. 'l`he PBNDS requires that

20.

21.

22.

23.

detainees receive at least $1.00 (USD) per day for work performed in the VWP.

ICE employs a full-time detention services manager at NWDC whose primary responsibility
is to ensure the facility is in compliance with the PBNDS requirements including those
related to the VWP.

ICE also employs a contracting officer’s representative (“COR") who works full-time at
NWDC. The COR’s primary duty is to monitor GEO’s performance to ensure that all of the
technical requirements under the contract are met by the delivery date or within the period of
performance, and at the price or within the estimated cost stipulated in the contract

With GEO’s monthly invoice, GEO’s Assistant Warden for Administration at the NWDC
provides the COR an itemization of participants in the VWP, which includes detainee
number, name, date of participation, work performed, and amount paid. The COR reviews
this itemization and the corresponding totals of $1.00 per day per participant The COR
verifies that the line item on the invoice matches the proper contract line item number for the
VWP on the contract If the supporting paperwork for the entire invoice meets ICE standards
the COR signs the invoice to approve payment

GEO'may not otherwise expend the funds allocated for the reimbursement for the $l per day
allowance for detainee participation in the VWP. if a detainee participates in the VWP, the
$1 per day allowance must be provided to the detainee. Per the PBNDS, the facility shall
have an established system that ensures detainees receive the pay owed them before being

transferred or released.

DECLARATION OF TAE .lOl-l'NSON
ENFORCEMENT AND REMOVAL OPERATIONS
UNITES STATES lMMlGRATlON AND CUSTDMS ENFORCEMENT

7of8

 

-l`-`- bd l\.)

\9 m '--.'l ct Ut

 

 

Case 3:17-Cv-05769-R.]B Document 111 Filed 08/02/18 Page 10 of 10

24. The NWDC contract set the quantity of $I.OO reimbursements at l 14,975 per option year.
GEO shall not exceed that quantity without prior approval by the contracting officer. This
approval can be sought by GEO and would be memorialized through a bi-Iateral contract
modification

25. The $1.00 per day allocation and reimbursement rate for ‘\[WP participation is consistent with
national detention standards applied similarly at state and local levels where ICE detainees

often are placed.

l declare, under penalty of perjury under 28 U.S.C. § 1746, that the foregoing is true and

correct to the best of my knowledge, information and belief.

Qa<SQ/\J

drama JonNslg§/
Assistant Dircc

Custody Managcment Division
Enl`orcemcnt and Removal Operations
U.S. Imtnigration and Customs Enforccment

DATED: August l, 2018

DECLARAT[ON Ol" TAE .lOl lNSON

lENFORCEMENT AND REMOV/\l.. Ol’l':`llA'l`lONS

UNITES S'l`A'I'ES ll\'ll\'llGR./\TlON AND CUSTO\\'|S ENFORCE,\'HIN`I`
ll of`B

 

